               IN THE UNITED STATES DISTRICT COURT
              FOR THE EASTERN DISTRICT OF MICHIGAN
                        SOUTHERN DIVISION

ALI EL-KHALIL, D.P.M.,
                                              Case No. 2:18-cv-12759-MAG-APP
             Plaintiff,
                                              Hon. Mark A. Goldsmith
v.                                            Mag. Judge Anthony P. Patti

ANTHONY TEDESCHI, MOHAMMED
KHALIL, NSIMA USEN, MAHMUD
ZAMLUT, LEONARD ELLISON and
THE DETROIT MEDICAL CENTER,
A Domestic Not for Profit Corporation,

          Defendants.
___________________________________/




 THE DETROIT MEDICAL CENTER’S RESPONSE IN OPPOSITION TO
      PLAINTIFF’S EMERGENCY MOTION FOR TEMPORARY
     RESTRAINING ORDER AND PRELIMINARY INJUNCTION


I, Roger P. Meyers, certify that this document complies with Local Rule 5.1(a),
including: double-spaced (except for quoted materials and footnotes); at least
one-inch margins on the top, sides, and bottom; consecutive page numbering; and
type size of all text and footnotes that is no smaller than 10-1/2 characters per inch
(for non-proportional fonts) or 14 point (for proportional fonts). I also certify that
it is the appropriate length. Local Rule 7.1(d)(3).
                                          TABLE OF CONTENTS
INTRODUCTION .....................................................................................................1
COUNTER-STATEMENT OF FACTS ....................................................................1
LEGAL STANDARD ................................................................................................5
ARGUMENT .............................................................................................................6
A. The Health Care Quality Improvement Act of 1986 requires DMC to report its
   final decision here.. ..............................................................................................7
B. Dr. El-Khalil provides no authority showing that this Court may enjoin DMC
   from making a mandatory report under HCQIA. ................................................9
C. Even if the Court disregarded Dr. El-Khalil’s failure to discuss the controlling
   legal framework, he still would fail to show entitlement to an injunction
   here…….............................................................................................................11
         1. Dr. El-Khalil does not have a likelihood of success on the merits. ........11
         2. Dr. El-Khalil will not suffer irreparable harm in the absence of
            relief.. .......................................................................................................13
         3. DMC would be harmed by the relief sought here.. .................................18
         4. The public interest favors allowing DMC to follow federal law. ...........18
D. The restraining order Dr. El-Khalil proposes would be inappropriate even if he
   were entitled to relief. ........................................................................................19
CONCLUSION ........................................................................................................20




                                                             ii
                                      TABLE OF AUTHORITIES

Cases

Doe v. Community Medical Center, Inc., 221 P.3d 651 (Mt. 2009) ....................... 17

D.T. v. Sumner Cty. Sch., 942 F.3d 324 (6th Cir. 2019) ........................... 5, 6, 14, 16

El-Khalil v. Oakwood Health Care Inc.,

  2019 WL 6045564 (Mich. Ct. App. Nov. 14, 2019)............................................ 14

Erard v. Johnson, 905 F. Supp. 2d 782 (E.D. Mich. 2012) ...................................... 5

McKenzie v BellSouth Telecomms., Inc., 219 F.3d 508 (6th Cir. 2000) ................. 12

Michigan Coal. of Radioactive Material Users, Inc. v. Griepentrog,

  945 F.2d 150 (6th Cir. 1991) ................................................................................ 16

Reams v. Vrooman-Fehn Printing Co., 140 F.2d 237 (6th Cir. 1944) ................. 6, 9

Schneider v. Flood, 2010 WL 1657001 (D.V.I. Apr. 23, 2010) ............................. 17

Walker v. Mem. Health Sys. of E. Tex.,

  231 F. Supp. 3d 210 (E.D. Tex. 2017) ........................................................... 17, 19

Wine & Spirits Retailers, Inc. v. Rhode Island, 418 F.3d 36 (1st Cir. 2005) ......... 11

Winter v. Nat'l Res. Def. Council, Inc., 555 U.S. 7 (2008) ........................... 5, 2, 4, 7


Statutes

31 U.S.C. § 3730 ................................................................................................. 5, 12

42 U.S.C. § 11101 ..................................................................................................... 7

42 U.S.C. § 11111 ..................................................................................................... 8

42 U.S.C. § 11133 ............................................................................................. 5, 7, 8


                                                           iii
42 U.S.C. § 11136 ........................................................................................... 5, 9, 17

42 U.S.C. § 11137 ......................................................................................... 5, 14, 15

42 U.S.C. § 11151 ............................................................................................... 8, 10

MCL 333.21513(a).................................................................................................... 3


Rules

Fed. R. Civ. P. 65(b)(2)....................................................................................... 5, 19


Regulations

45 C.F.R. § 60.6 .................................................................................................... 5, 9

45 C.F.R. § 60.21 .................................................................................................. 5, 9




                                                           iv
       CONTROLLING AUTHORITY FOR THE RELIEF SOUGHT
D.T. v. Sumner Cty. Sch., 942 F.3d 324 (6th Cir. 2019)

Erard v. Johnson, 905 F. Supp. 2d 782 (E.D. Mich. 2012)

Winter v. Nat'l Res. Def. Council, Inc., 555 U.S. 7 (2008)

Fed. R. Civ. P. 65(b)(2)

31 U.S.C. § 3730(h)

42 U.S.C. § 11133(a)(1)(A)

42 U.S.C. § 11136

42 U.S.C. § 11137

45 C.F.R. § 60.6

45 C.F.R. § 60.21

U.S. Dept. of Health and Human Servs., NPDB Guidebook (October 2018)




                                         v
                 STATEMENT OF THE ISSUE PRESENTED
      Should this Court enjoin DMC from complying with a federal statutory

obligation to report its adverse final decision regarding Dr. El-Khalil’s application

for reappointment to DMC’s medical staff, where Dr. El-Khalil’s motion is

predicated on misstatements and omissions, and hardly references the applicable

statutory scheme, much less establish an entitlement to injunctive relief within it?

Plaintiff answers:               Yes

DMC answers:                     No

This Court should answer:        No




                                          vi
                               INTRODUCTION

      Dr. El-Khalil asks this Court to enter a restraining order and preliminary

injunction without even analyzing the controlling law. The real issue raised by this

motion is whether DMC should be enjoined from complying with a federal statute

that mandates prompt reporting of its decision not to reappoint Dr. El-Khalil to its

medical staff. Rather than take that issue head on, Dr. El-Khalil instead argues—

based on knowing misstatements and omissions, no less—that a report about him

would just be more of the retaliation he claims to have suffered. This does not

entitle him to any relief.

                      COUNTER-STATEMENT OF FACTS

      In an apparent effort to bolster the prospects of success on his retaliation

claim, Dr. El-Khalil omits or misstates numerous points from his “Statement of

Facts.” The most significant of these are addressed as follows:

      1.     Dr. El-Khalil frequently uses the term “Defendants” to conflate actors.

See, e.g., Pl’s Br. at 3 (“Defendants’ health care fraud”). As his own exhibits

show, however, Dr. El-Khalil accuses only individuals of engaging in fraud, and

then mostly at other institutions.1 Pl’s Mot. at Exs. F, M. Discovery has shown




1
   He makes a similar accusation—supported only by his own foundationless
affidavit—that Drs. Khalil and Usen have “conspired . . . with the DMC.” Pl’s Br.
at 4. There is no evidence at all of any such conspiracy.

                                         1
that at least some of what he calls fraud has been sensationalized, if not flatly

made-up. For example, in his First Amended Complaint, Dr. El-Khalil describes

“Patient A” whose “feet” he alleges “gradually were removed, piece by piece”

until, “[b]y November 2017,” she “had lost most of both feet.” Doc. #35 at

¶¶ 47(I)(a)-(l); PageID 299-300. But he has since admitted that this was a Henry

Ford—not DMC—patient who, as of November 2017, has lost only a single toe on

one foot. Ex. 1, El-Khalil Dep. 179:7-180:21, 192:12-195:23. Astonishingly, Dr.

El-Khalil has now perjured himself by repeating these false statements under oath

in the affidavit he submitted in support of this motion. See Pl’s Mot. at Ex. B,

¶ 7(k)(1)-(11).

        2.      Dr. El-Khalil insists that his privileges were “suspended” in January

2018.        Pl’s Br. at 5.   But he fails to disclose that his privileges expired

automatically on December 2, 2017. Ex. 2, 2016 Reappointment Letter. He also

fails to disclose that DMC’s normal timing is 90 days from completion of an

application for reappointment to a decision on that application. Ex. 3, 11/20/2017

Email. He further fails to disclose that his own packet was incomplete until

sometime after that November 20 email because he had not provided the required

procedure logs. (Id.). And he fails to disclose that DMC itself reiterated that he

“should report any and all concerns of fraud regardless of the privileging process.”

Ex. 4, 1/22/2018 Email.


                                           2
      3.    Dr. El-Khalil grossly misstates the process by which medical staff

appointments are made at DMC. Applications for reappointment first go to the

physician’s department for a recommendation. That recommendation is reviewed

by a Credentialing Committee, which also makes a recommendation. From there,

the Medical Executive Committee (MEC) makes its own recommendation. None

of these recommendations are binding, however. The final decision always rests

with the Governing Body, which at DMC is comprised of a Joint Conference

Committee (JCC) together with the Board. These steps are outlined in the Bylaws

of the DMC Medical Staff that were attached to Dr. El-Khalil’s own motion. See

Pl’s Mot. at Ex. H, art. III§ 4.A, art. IV. They were also reiterated in various

depositions. See, e.g., Ex. 5, Haapaniemi Dep. 27:19-29:11; Ex. 6, Tedeschi Dep.

17:15-18:25. Indeed, the Governing Body’s overall authority over selection of the

medical staff is ultimately a product of Michigan law. See MCL 333.21513(a).

      4.    Having misstated the process, Dr. El-Khalil then misapplies it to

himself. He states that the MEC decided to “renew” his privileges but that—

despite having “no appeal right,” the JCC “reverse[d] the decision of the MEC.”

Pl’s Br. at 8-9. Yet both the MEC’s initial adverse recommendation and its

subsequent favorable recommendation were merely advisory. The JCC did not

engage in some impermissible appeal; it just considered the MEC’s

recommendation in the normal course. And, contrary to Dr. El-Khalil’s unfounded


                                       3
assertion that only the fair hearing panel heard “the evidence presented by both

sides,” Pl’s Br. at 8, the subsequent review—including the ad-hoc appeal he

requested—was based on the entire record of the fair hearing including a full

transcript of the testimony and all of the exhibits. See Pl’s Mot. at Ex. K (JCC

notice letter, detailing materials an appeal committee would receive); id. at Ex. A

(appeal committee report, detailing materials reviewed).

      5.    Dr. El-Khalil also fails to disclose that he has adduced no evidence of

a causal connection between his reports of alleged wrongdoing (reports that came

more than a month after his appointment to the medical staff expired) and the

decision not to renew him. After extensive production of documents and six

depositions of DMC personnel, the uncontroverted evidence is that the committees

did not consider his reports in reaching their respective decisions. E.g., Ex. 5,

Haapaniemi Dep. 16:17-25, 32:1-16.        Indeed, his own deposition ultimately

revealed that Dr. El-Khalil commenced this lawsuit based on nothing other than his

own speculation that he had been retaliated against here. Ex. 1, El-Khalil Dep.

55:15-57:1, 60:5-61:8, 84:17-85:1.

      6.    Meanwhile, Dr. El-Khalil also omits any discussion of his own

behavior, which ultimately is what showcased the lack of character, judgment and

ability to get along with others that led to the adverse determination here. He

makes much of the gas-station altercation with his nemesis, Dr. Khalil. But he


                                         4
does not disclose the exchange that precipitated it, in which he engaged (among

other things) in profane name-calling and sexual insults about Dr. Khalil’s parents.

Ex. 7, Text Messages. Nor does he disclose how he extended and exacerbated that

conflict: Every time Dr. Khalil walked away, Dr. El-Khalil shouted still more

insults out his window, repeatedly calling Dr. Khalil a “piece of shit” and

eventually trying to block his car from leaving. Ex. 1, El-Khalil Dep. 120:6-19,

122:11-124:22.

      7.    Finally, Dr. El-Khalil fails to inform the Court that, in connection with

the very application for reappointment that he submitted here, Dr. El-Khalil

expressly acknowledged that DMC was required to report any adverse action taken

regarding his privileges in connection with his professional conduct.         Ex. 8,

Authorization for Release at ¶ P.

                              LEGAL STANDARD

      Dr. El-Khalil has a “heavy burden to show that injunctive relief is warranted

because ‘[a] preliminary injunction is an extraordinary remedy never awarded as of

right.’” Erard v. Johnson, 905 F. Supp. 2d 782, 789 (E.D. Mich. 2012) (quoting

Winter v. Nat'l Res. Def. Council, Inc., 555 U.S. 7, 24 (2008)). “Four factors

determine when a court should grant a preliminary injunction: (1) whether the

party moving for the injunction is facing immediate, irreparable harm, (2) the

likelihood that the movant will succeed on the merits, (3) the balance of the


                                         5
equities, and (4) the public interest.” D.T. v. Sumner Cty. Sch., 942 F.3d 324, 326

(6th Cir. 2019).

      That burden weighs even heavier, here, where the supposed “emergency” is

of Dr. El-Khalil’s own making. See Reams v. Vrooman-Fehn Printing Co., 140

F.2d 237, 242 (6th Cir. 1944) (“It is well settled that ‘equity aids the vigilant.’”).

As demonstrated by his own exhibits, Dr. El-Khalil has known since May 3, 2019

that the DMC’s final decision would be adverse unless his final administrative

appeal succeeded. Pl’s Mot. at Exs. K, L. And he did not believe he would prevail

on that appeal.    Ex. 1, El-Khalil Dep. 87:15-24.         He could have sought a

preliminary injunction any time over the last 11 months, asking the Court as he

does now to prevent DMC from reporting an adverse decision about him while this

action is pending. Instead, he waited until the appeal was unsuccessful and now

wants this Court to act on an emergency basis “even before counsel can be fully

heard on the Plaintiff’s motion.” Pl’s Mot at Ex. N.

                                   ARGUMENT

      As shown in the Counter-Statement of Facts, Dr. El-Khalil bases this motion

on a factual presentation skewed to bolster his generalized argument that he is

likely to prevail on his retaliation claim, and therefore that this Court should enjoin

DMC from reporting its adverse decision on his application for reappointment.

The problems with that argument are fully discussed below.             But first it is


                                          6
necessary to discuss what Dr. El-Khalil largely ignores, namely, the federal

reporting requirements that DMC must satisfy. For the real issue here—the key

merits hurdle Dr. El-Khalil needs to clear—is not whether he can ultimately prove

retaliation, but rather whether he can show a likelihood that this adverse action is

not reportable under the controlling law.

      A.     The Health Care Quality Improvement Act of 1986 requires DMC
             to report its final decision here.
      Dr. El-Khalil barely mentions the Health Care Quality Improvement Act of

1986 (HCQIA), much less describes how it operates here. All he does is state in a

single sentence that DMC will give notice “pursuant to 42 U.S.C.

§ 11133(a)(1)(A).” Pl’s Br. at 11. He immediately mischaracterizes that notice as

a “malicious attempt to defame the plaintiff personally.” Id. at 12. And he briefly

insists that the decision here is not reportable because it does not involve conduct

that could affect patient care. Id. at 17-18. None of this is accurate.

      HCQIA was enacted upon express Congressional findings that nationally

coordinated action was needed to make physician peer review effective. 42 U.S.C.

§ 11101. Among the mechanisms implemented to meet that need was the creation

of the National Practitioner Data Bank (NPDB), which is a centralized repository

for adverse reports regarding physicians. To ensure that such reports are promptly

submitted, HCQIA imposes both mandatory reporting requirements and sanctions

for noncompliance.

                                            7
      Specifically, health care entities (including hospitals) are required to

report—without exception—any “professional review action that adversely affects

the clinical privileges of a physician for a period longer than 30 days.” 42 U.S.C. §

11133(a)(1)(A). That information goes both to the applicable state licensing body

as well as the NPDB itself. If a health care entity fails to make a required report, it

can be subject to sanctions including the loss of all statutory immunity for peer-

review activities for a three-year period. 42 U.S.C. § 11111(b), 11133(c).

      The statutory definitions make clear that the reporting obligation is triggered

here. The term “adversely affecting” includes, among other things, “failing to

renew clinical privileges or membership in a health care entity.”          42 U.S.C.

§ 11151(1). The term “clinical privileges” is defined broadly to include both

actual “privileges” to perform procedures, as well as “membership on the medical

staff.” § 11151(3). The term “professional review activity” means, among other

things, an action “to determine whether the physician may have clinical privileges

with respect to, or membership in, the entity.” § 11151(10)(A). And the term

“professional review action” includes an action “taken or made in the conduct of

professional review activity, which is based on the competence or professional

conduct of an individual physician (which conduct affects or could affect adversely

the health or welfare of a patient or patients) . . .” § 11151(9).




                                           8
        HCQIA expressly contemplates that physicians may dispute reports made

under its requirements.         Accordingly, it authorizes the implementation of

regulations enabling physicians to dispute the accuracy of those reports. 42 U.S.C.

§ 11136(2). Those regulations, in turn, establish a detailed process by which a

physician may provide either a “subject statement” or seek “dispute resolution”

and attempt to show that the report should not have been made. See NPDB

Guidebook at Ch. F (explaining mechanisms set forth in 45 C.F.R. § 60.21).2 They

also acknowledge that, under certain circumstances, a health care entity may find it

necessary to revise, update, or withdraw a report previously made. See NPDB

Guidebook at E-8 (explaining process to withdraw a report under 45 C.F.R.

§ 60.6). The Guidebook provides the example of a court overturning a license

revocation as a reason for voiding a report. Id. Upon the voiding of a report,

NPDB notifies the physician as well as anyone who queried the physician’s record

in the prior three years. Id.

        B.    Dr. El-Khalil provides no authority showing that this Court may
              enjoin DMC from making a mandatory report under HCQIA.
        Dr. El-Khalil’s only nod to HCQIA is to insist that the action here is not

reportable because—in his view—it does not affect patient health or welfare. Pl’s

Br. at 17. But it is hardly so clear cut. The statutory provision at issue (in defining



2
    See https://www.npdb.hrsa.gov/resources/NPDBGuidebook.pdf

                                          9
“professional review action”) gives a handful of examples of professional conduct

issues that are not related to patient care. 42 U.S.C. § 11151(9)(A)-(E). But none

of those are on point.      Meanwhile, the NPDB Guidebook offers no more

illumination, noting only that “[w]hether an action affects or could affect patient

health or welfare is generally a determination that must be made by the entity

taking the action.”   NPDB Guidebook at E-31, E-46.         The consequence for

guessing wrong is statutory sanctions.

      It is not a close call here, however.    The record Dr. El-Khalil himself

amassed includes physical altercation with another podiatrist, along with Dr. El-

Khalil video-recording hostile interactions in hospital hallways. And he reports

having to seek a PPO for fear of still more violence.3        Meanwhile, he has

repeatedly shown that he has no recognition how his own behavior exacerbates this

conflict. See Ex. 1, El-Khalil Dep. 120:6-19, 122:11-124:22. DMC need not show

actual harm to patient welfare; it suffices that conduct “could” adversely affect

patient welfare. Open and constant conflict with other physicians, that has erupted

into violence and has manifested inside the hospital itself, surely meets that

minimal standard.




3
 DMC does not condone Dr. Khalil’s own actions. Nor does it seek to punish Dr.
El-Khalil for things Dr. Khalil did. But Dr. El-Khalil has been an active
participant in the conflict, as his own text messages show. Ex. 7.

                                         10
      Dr. El-Khalil otherwise insists that this Court should enjoin DMC in order to

“preserve the status quo.” Pl’s Br. at 2, 14. But the status quo here is that DMC is

compelled by federal law to report the adverse decision it made. In other words,

Dr. El-Khalil wants this Court to disrupt the regulatory scheme in the hopes that he

will eventually show that the DMC acted wrongly. This would be a significant

deviation from the ordinary course, not a maintenance of it. As shown above

HCQIA establishes a clear policy preference to maximize disclosure, not to

suppress it prospectively until fully and finally litigated.

      In any event, Dr. El-Khalil himself acknowledged at the time he applied for

reappointment that DMC would comply with HCQIA and make a report if it

reached an adverse decision. Ex. 8, Authorization for Release at ¶ P. That consent

at the front end estops him from now asking this Court to prevent the report.

C.    Even if the Court disregarded Dr. El-Khalil’s failure to discuss the
      controlling legal framework, he still would fail to show entitlement to an
      injunction here.
      1. Dr. El-Khalil does not have a likelihood of success on the merits.

Likelihood of success on the merits is the sine qua non of the four-part inquiry—

without it, “the remaining factors become matters of idle curiosity.” Wine &

Spirits Retailers, Inc. v. Rhode Island, 418 F.3d 36, 46 (1st Cir. 2005). DMC has

already shown that Dr. El-Khalil omitted and misrepresented critical facts in order




                                           11
to bolster the appearance of his prospects for success on the merits. This is hardly

an auspicious start to a request for equitable relief.

      In any event, to prevail on his retaliation claim, he would have to show he

engaged in protected activity; that DMC knew he did so; and that it took adverse

action against him because of that activity. See McKenzie v BellSouth Telecomms.,

Inc., 219 F.3d 508, 514 (6th Cir. 2000). He has problems with all three elements.

For example, his “reports” of alleged wrongdoing are not genuine acts done “in

furtherance of” a False Claims Act action or to stop a violation of that statute. See

31 U.S.C. § 3730(h)(1). Rather, they came through counsel a month after his

privileges lapsed, and only after DMC had questioned him about his own behavior.

See Exs. 2, 3. In other words, they are just as consistent with deflection and

maneuvering as they are with an altruistic motive.

      It is the third element, however—a causal connection between his activity

and the adverse action—that should end this action at the summary judgment stage.

Conspicuously missing from Dr. El-Khalil’s brief is any document or deposition

testimony connecting his “reports” to the decision not to reappoint him. The end

of discovery is imminent—it already would have closed but for his counsel’s

scheduling conflicts. If there were any evidence of causation, Dr. El-Khalil would

have provided it with his motion. Instead, he leans only on what the fair hearing

panel “surmised.” Pl’s Br. at 17. With all due respect to the panel and the work it


                                           12
put into this matter, supposition based on the narrowly constrained record being

reviewed on a fair hearing is not admissible evidence of retaliation for purposes of

a federal lawsuit.

      Indeed, Dr. El-Khalil has admitted that he has no factual basis of his own to

support his claim of retaliation. Ex 1, El-Khalil Dep. 55:15-57:1, 60:5-61:8, 84:17-

85:1. Meanwhile, Dr. Haapaniemi—who chairs the MEC and sits on the governing

body—testified that the discussions about Dr. El-Khalil were about his disruptive

behavior and lack of professionalism, not that he reported fraud.4             Ex. 5,

Haapaniemi Dep. 16:17-25, 32:1-16. And the full record on which Dr. El-Khalil’s

reappointment to the DMC medical staff ultimately was denied includes the wholly

unprofessional text messages and videos that he himself injected into the process.

See Ex. 7, Text Messages.

      In short, Dr. El-Khalil’s motion fails to show even a triable issue of

causation. It certainly does not carry the heavy burden of establishing a strong

probability of success on the merits.

      2. Dr. El-Khalil will not suffer irreparable harm in the absence of relief.

      Of the four factors, “the irreparable harm requirement . . . . is indispensable:

If the plaintiff isn’t facing imminent and irreparable injury, there’s no need to grant



4
 When it moves for summary judgment, DMC will further detail Dr. El-Khalil’s
own erratic behavior that led to the initial adverse MEC recommendation.

                                          13
relief now as opposed to at the end of the lawsuit.” D.T. v. Sumner Cty. Sch., 942

F.3d 324, 327 (6th Cir. 2019). Dr. El-Khalil accordingly devotes more than two

pages of his “Statement of Facts” to predicting dire consequences that he says will

befall him if the DMC were to file its mandatory report here. Pl’s Br. at 11-13.

These predictions are not justified.

      To begin, Dr. El-Khalil yet again fails to disclose critical facts.       He

emphasizes the absence of prior complaints about him at two particular hospitals,

Henry Ford and Garden City. Pl’s Br. at 12. But he remarkably says nothing

about the numerous professionalism complaints made against him at Oakwood

Health.   See El-Khalil v. Oakwood Health Care Inc., No. 329986, 2019 WL

6045564 (Mich. Ct. App. Nov. 14, 2019) (describing complaints).

      He also fails to mention that Oakwood decided in 2015 not to renew his

privileges, and reported that fact to the NPDB. This is relevant here because Dr.

El-Khalil submitted statements disputing that action.5 DMC thereafter reappointed

him for a year. So the notion that he will become a pariah the moment a report is

made is not supported even on his own personal experience.




5
  The NPDB reports reflecting this information have not been attached to this
motion because they are subject to a statutory confidentiality requirement. 42
U.S.C. § 11137. They can, however, be provided to the Court in camera upon
request.

                                        14
      Moreover, NPDB reports are confidential and are disclosed only to

authorized recipients (such as hospitals) upon receipt of a query—such as when

new privileges or reappointment are sought. 42 U.S.C. § 11137. Dr. El-Khalil

identifies no such imminent events. If there were any, however, he himself would

be required in connection with those applications to disclose this adverse

determination independently.     In other words, the NPDB query is merely a

verification to ensure that a physician has not concealed adverse information. The

only way Dr. El-Khalil could be “harmed” by DMC making its mandatory report

would be if he tried to get away with falsifying his own privileging history.

      Meanwhile, his legal battles with Oakwood—another health system he

accused of retaliation—has been public record since 2014. This case itself has

been pending for more two and a half years. And he himself is the one who,

despite DMC’s objections, repeatedly has divulged confidential, peer-review

details in public filings. Indeed, this motion provides an ironic example: During

the telephone call seeking concurrence, counsel for DMC suggested the entire

motion (rather than just a few selected portions)6 should be filed under seal and

confirmed that DMC would not oppose such a sealed filing. Dr. El-Khalil ignored

that suggestion and thus made the entire course of his unsuccessful application a

6
  Even this partial sealing was not done effectively: The document submitted
under seal as Plaintiff’s Exhibit I (with corresponding redactions of quotations in
the brief) was itself both attached to and heavily quoted in Plaintiff’s Exhibit L.

                                         15
matter public record. It is not credible to suggest that a confidential report to

regulators at this stage would change anything, much less inflict irreparable harm.

      He also says that a report will impair his “ability to serve his current

patients” and that he may be forced to “discontinue longtime relationships” with

“patients who may need the DMC.” Pl’s Br. at 12-13. This is disingenuous: Dr.

El-Khalil’s membership on the DMC medical staff lapsed in December 2017. Ex.

2. He has been continuously engaged in administrative appeals thereafter. So it

has been years since he could treat a patient at DMC; and a report—or not—will

change nothing about his ability to do so.7

      That Dr. El-Khalil’s own assertions do not even amount in a general context

to irreparable harm is reason enough to deny his motion. D.T. v. Sumner Cty. Sch.,

942 F.3d at 327. Even more so, however, in the context of HCQIA reporting:

      As explained above, HCQIA reflects a Congressional determination that a

mandatory disclosure regime is a critical component to achieving effective peer

review and maximizing patient safety. In doing so, Congress plainly subordinated



7
  DMC will not address his remaining assertions, such as his alarmist prediction of
having to spend “hundreds of thousands of dollars in legal fees” to answer
questions and his absurd accusation that, in complying with federal law, DMC is
engaging in some “underhanded attempt to go around this court” and run up his
costs. See Pl’s Br. at 12. “To merit a preliminary injunction, an injury ‘must be
both certain and immediate,’ not ‘speculative or theoretical.’” D.T. v. Sumner Cty.
Sch., 942 F.3d at 328 (quoting Michigan Coal. of Radioactive Material Users, Inc.
v. Griepentrog, 945 F.2d 150, 154 (6th Cir. 1991)).

                                         16
the interests of individual physicians in avoiding that disclosure, providing instead

for opposition statements and after-the-fact dispute resolution. See 42 U.S.C.

§ 11136(2). To say Dr. El-Khalil would suffer irreparable harm from reporting

would be to negate the policy implemented by the statute.

      Dr. El-Khalil’s cases do not change this conclusion.8          For example, in

Walker v. Memorial. Health System of East Texas, the court found irreparable harm

because the sanction at issue was actually “non-reportable” in that it lasted less

than 30 days. 231 F. Supp. 3d 210, 215 (E.D. Tex. 2017). Moreover, the report

there was to accuse the physician of having “substandard or inadequate skill,”

which is a far cry from stating that he has engaged in disruptive and unprofessional

conduct. See id. at 216. In contrast, disruptive conduct is something that can be

remediated; indeed, numerous organizations offer courses to help physicians

overcome problem behavior.




8
  Dr. El-Khalil’s second case, Schneider v. Flood, 2010 WL 1657001 (D.V.I. Apr.
23, 2010), does not provide any background detail or reasoning to explain the
result. All that can be said from it is that the plaintiff sought a TRO nine days after
an initial review was announced, which likely does not qualify as a reportable
event. See id. at *1. Meanwhile, Doe v. Community Medical Center, Inc. found
irreparable harm in the space of three sentences, without any discussion of the
balance struck in the statutory scheme and over a blistering dissent on this very
issue. 221 P.3d 651, 661 (Mt. 2009). In any event, neither of these cases appears
to involve the extensive public disclosure that Dr. El-Khalil himself has made
regarding his adverse membership decisions at DMC and elsewhere.

                                          17
      Moreover, contrary to his assertions, Dr. El-Khalil is hardly the innocent

victim he presents himself as. The administrative proceedings here amassed a

significant amount of material—through his own submissions—showing that Dr.

El-Khalil through his own actions had failed to exhibit the professionalism,

character, and ability to work with others that is required of members of the DMC

medical staff.   See, e.g., Ex. 7, Text Messages.       He cannot bring adverse

consequences on himself and then cry, “irreparable harm.” Nor can he claim to be

irreparably harmed by a report he expressly authorized DMC to make. Ex. 8,

Authorization for Release, at ¶ P.

      3. DMC would be harmed by the relief sought here.

      Dr. El-Khalil’s short discussion of this element is predicated on a falsehood:

He says that DMC obtains no benefit from reporting other than to “further its

retaliatory purpose.” Pl’s Br. at 19. As shown, however, this report is required by

law and DMC would be subject to an onerous sanction—loss of all peer-review

immunity for three years—if it failed to make the mandatory report.

      4. The public interest favors allowing DMC to follow federal law.

      Dr. El-Khalil’s final argument is a straw-man: He argues that the public

interest is served by promoting reporting of healthcare fraud. But that is an

argument for enforcing the False Claims Act, not for suspending the operation of

the Health Care Quality Improvement Act.


                                        18
      The simple fact is that Dr. El-Khalil has merely made an unproven

accusation of retaliation. Meanwhile, DMC has an indisputable obligation under

HCQIA to report the adverse action it took. If Dr. El-Khalil somehow were to

prevail on his claim—which is unlikely, given his failure after nearly 30 months of

litigation to develop any actual evidence of retaliation—then DMC would void its

report and NPDB would notify any entities that had queried Dr. El-Khalil’s record.

This is the balance struck by federal law. While deviating from it might serve Dr.

El-Khalil’s personal interest, it does not serve the public interest.

D.    The restraining order Dr. El-Khalil proposes would be inappropriate
      even if he were entitled to relief.
      As shown above, Dr. El-Khalil is not entitled to any relief here. Moreover,

the restraining order he proposes is improper. Of course, a restraining order must

“describe the injury and state why it is irreparable” and “state why the order was

issued without notice.” Fed. R. Civ. P. 65(b)(2). But this proposed order goes

farther, converting Dr. El-Khalil’s contentions about hypothetical future harms he

may suffer into judicial findings about what he “will” suffer. Pl’s Mot. at Ex. N.

More problematic still, he also slips in a proposed judicial finding that the DMC

has engaged in “apparent retaliation” against him (despite, as discussed above, the

complete absence of admissible evidence that DMC even considered his reports

when making its decision regarding his medical staff membership). Id.




                                           19
      This is not just semantics. Courts speak through their orders; and this

proposed order prejudges both the follow-on preliminary injunction he seeks as

well as the merits of the entire case. It cannot issue.

                                   CONCLUSION

      Dr. El-Khalil has brought this motion based on misstatements, omissions,

and an outright failure to discuss the statutory framework that he proposes to

disrupt. Even with all that, he still cannot satisfy the standards for injunctive relief.

His motion should be denied.

                                 Respectfully submitted,
                                 BUSH SEYFERTH PLLC
                                 Counsel for The Detroit Medical Center

                                 By: /s/Roger P. Meyers
Dated: April 28, 2020                Roger P. Meyers (P73255)
                                     Andrea S. Carone (P83995)
                                     BUSH SEYFERTH PLLC
                                     100 W. Big Beaver Rd., Ste. 400
                                     Troy, MI 48084
                                     (248) 822-7800
                                     meyers@bsplaw.com




                                           20
                         CERTIFICATE OF SERVICE
       I hereby certify that, on April 28, 2020, I electronically filed the foregoing

with the Clerk of the Court using the ECF System, which will send notification to

all parties of record.



                                     By:    /s/ Roger P. Meyers
                                             Roger P. Meyers (P73255)
